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FILED IN OPEN COURT
UU. 2702S
UNITED STATES DISTRICT COURT CLERK, u s. DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION JACKSONVILLE, FLORIDA

UNITED STATES OF AMERICA

Vv. Case No. 3:23-cr-180-HES-SJH

95:45-er -70- HES - POR

NOAH MICHAEL URBAN
PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Greyory ur. Kehoe (8) (NU) 9

Reset B-Handtere, United States Attorney for the Middle District of Florida, and E.

Martin Estrada, United States Attorney for the Central District of California, and the

defendant, NOAH MICHAEL URBAN, and the defendant’s attorney, Kathryn

Sheldon, mutually agree as follows:

A. Particularized Terms

1. Counts Pleading To

The defendant shall enter a plea of guilty to Count One, Count Nine,
and Count Fourteen of the Indictment. Count One charges the defendant with
conspiracy to commit wire fraud, in violation of 18 U.S.C. §§ 1343 and 1349. Count
Nine Charges the defendant with wire fraud, in violation of 18 U.S.C. § 1343. Count
Fourteen charges the defendant with aggravated identity theft, in violation of 18
U.S.C. § 1028A(a)(1).

The defendant will also enter a plea of guilty to Count One of the

C3: dyen-7J0 ~HE5-PpR) CCNA i ndictmed) (¥s) (NW OL
Indictment in Case No. 2:24-cr-00595-JWH, Central District of California, which

charges the defendant with conspiracy to commit wire fraud, in violation of 1 /
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obs. te 1 1349 ihe, SCDCA Indictment”). The parties agree to jointly seek a transfer
. 4G ont ea ac 2: ‘Bdsct-00595- JWH, as to only the defendant, NOAH MICHAEL
URBAN, from the Central District of California to the Middle District of Florida,
pursuant to Federal Rule of Criminal Procedure 20, for entry of a guilty plea and
sentencing in that district.

Dn Maximum Penalties

The maximum penalties for Count One, conspiracy to commit wire
fraud and Count Nine, wire fraud, are each a term of imprisonment of not more than
twenty years, a fine of not more than $250,000 or twice the gross gain or twice the
gross loss arising from the offense, whichever is greater, or both a term of
imprisonment and a fine, a term of supervised. release of not more than three years,
and a special assessment of $100. A violation of the terms and conditions of
supervised release is punishable by a maximum sentence of not more than two years
of additional imprisonment, as well as the possibility of an additional term of
supervised release.

The maximum penalties for Count Fourteen, ageravated identity theft,
is a mandatory minimum term of imprisonment of two years that must run
consecutive to any other term of imprisonment imposed, a fine of $250,000, a term
of supervised release not more than one year, and a special assessment of $100. A
violation of the terms and conditions of supervised release is punishable by a
maximum setae of not more than one year of additional imprisonment, as well as

the possibility of an additional term of supervised release.

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The maximum penalties for Count One of the CDCA Indictment,
conspiracy to commit wire fraud, is a term of imprisonment of not more than twenty
years, a fine of not more than $250,000 or twice the gross gain or twice the gross loss
arising from the offense, whichever is greater, or both a term of imprisonment and a
fine, a term of supervised release of not more than three years, and a special
assessment of $100. A violation of the terms and conditions of supervised release is
punishable by a maximum sentence of not more than two years of additional
imprisonment, as well as the possibility of an additional term of supervised release.

The cumulative maximum penalties for Count One, Count Nine, and
Count Fourteen, and Count One of the CDCA Indictment, are a mandatory

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minimum term of imprisonment of two years plustsixty years, a fine of not more
than $1,000,000, or twice the gross gain or twice the gross loss arising from the
offense, whichever is greater, or both a term of imprisonment and a fine, a term of
supervised release of not more than three years, and a special assessment of $400,
which is due on the date of sentencing. A violation of the terms and conditions of

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supervised release is punishable by not more than frre years of additional
imprisonment, as well as the possibility of an additional term of supervised release.

With respect to certain offenses, the Court shall order the defendant to
make restitution to any victim of the offense(s), and with respect to other offenses,

the Court may order the defendant to make restitution to any victim of the offense(s),

or to the community, as set forth below.

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3. Elements of the Offense

The defendant acknowledges understanding the nature and elements of
the offenses to which the defendant is pleading guilty.
The elements of Count One, Conspiracy to Commit Wire Fraud, are:

First: Two or more persons, in some way or manner,
agreed to try to accomplish a common and unlawful
plan to commit wire fraud, as charged in the
Indictment; and

Second: The defendant knew the unlawful purpose of the
plan and willfully joined in.

The elements of Count Nine, Wire Fraud, are:
First: The defendant knowingly devised or participated in
a scheme to defraud someone by using false

pretenses, representations, or promises;

Second: The false pretenses, representations, or promises
were about a material fact;

Third: The defendant acted with the intent to defraud; and
Fourth: The defendant transmitted or caused to be
transmitted by wire some communication in

interstate commerce to help carry out the scheme to
defraud.

The elements of Count Fourteen, Aggravated Identity Theft are:
First: The defendant knowingly transferred, possessed, or
used another person’s means of identification or
identification document;

Second: The defendant did so without lawful authority; and

Third: The defendant did so during and in relation to wire
fraud, a qualifying predicate offense.

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The elements of Count One of the CDCA Indictment, Conspiracy to

Commit Wire Fraud, are:

First: Two or more persons, in some way or manner,
agreed to try to accomplish a common and unlawful
plan to commit wire fraud, as charged in the CDCA
Indictment; and

Second: The defendant knew the unlawful purpose of the
plan and willfully joined in.

4, Counts Dismissed

At the time of sentencing, the remaining counts of the Indictment,
Count Two through Count Eight and Count Ten through Count Thirteen, as well as
the remaining counts of the CDCA Indictment, Count Two and Count Three, will be
dismissed pursuant to Fed. R. Crim. P. 1 1(c)(1)(A). However, the defendant
understands that the conduct giving rise to the charges set forth in these counts may
be considered relevant conduct by the Probation Office and the Court.

5. Chapter Two Offense Level

Pursuant to Fed. R. Crim. P. 11(¢)(1)(B), the United States and the
defendant agree to jointly recommend to the Court that the defendant's Chapter Two
Base Offense level be calculated at a Level 7. Additionally, the United States will
argue that the applicable loss amount under U.S.S.G. § 2B1.1(6)(1) is between at
least $9.5 million and no more than $25 million, which yields a 20-level
enhancement. The United States at no time will argue that the loss amount exceeds
the 20-level enhancement applicable loss amount. The defendant will argue that the

loss amount under U.S.S.G. § 2B1.1(b)(1) is between at least $3.5 million but no

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more than $9 million, which yields an 18-point enhancement. The defendant at no
time will argue that the loss amount is under the 18-point enhancement applicable
loss amount. The defendant and the United States reserve the right to argue that
additional specific offense characteristics, adjustments, and departures under the
Sentencing Guidelines are appropriate.

The parties understand that these recommendations and regina are not
binding on the Court, and if not accepted by this Court, neither the United States nor
the defendant will be allowed to withdraw from the plea agreement, and the
defendant will not be allowed to withdraw from the plea of and guilty.

5. Acceptance of Responsibility

At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG § 3E1. l(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the pleas.

Further, at the time of sentencing, if the defendant’s offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG § 3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit

referenced in Paragraph B.4., the United States agrees to file a motion pursuant to

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USSG § 3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely
with the United States Attorney for the Middle District of Florida, and the defendant
agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.

6. Mandatory Restitution to Victim of Offenses of Conviction

Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant agrees to make full
restitution to the victims of the offense. Specifically, the defendant agrees to make

restitution to the following individuals in the amounts listed in the below chart:

Amount | __ Victim
$287,603 | Victim 1
$21,952 | Victim 2
$37,742 | Victim 3
$106,075 | Victim 4
$367,349 | Victim 5
$3,448 | Victim 6
$9,038 | Victim 7
$3,443 | Victim 8
$8,899 | Victim 9
$10,686 | Victim 10
$9,794 | Victim 11
$12,494 | Victim 12
$99,423 | Victim 13
$7,373 | Victim 14
$80,539 | Victim 15
$32,435 | Victim 16
$30,981 | Victim 17
$19,367 | Victim 18

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Pursuant to 18 U.S.C. § 3663A(a) and (b), defendant also agrees to

make full restitution to victims of the offense in the CDCA Indictment. Specifically,

the defendant agrees to make restitution to the following individuals in the amounts

listed in the below chart:

$32,302

CDCA Vict

“Individual Victim 14

$152,205

Individual Victim 15

$35,647

Individual Victim 16

$20,093

Individual Victim 17

$11,842

Individual Victim 18

$195,768

Individual Victim 19

$129,586

Individual Victim 20

$5,381

Individual Victim 21

$1,668,034

Individual Victim 22

$57,800

Individual Victim 23

$34,861

Individual Victim 24

$207,874

Individual Victim 25

$7,094

Individual Victim 26

$17,135

Individual Victim 27

$97,217

Individual Victim 28

$4,010

Individual Victim 29

¥. Restitution to Persons Other Than the Victim of the Offense of

Conviction - Agreed Upon Amount

Pursuant to 18 U.S.C. §§ 3663(a)(3), the defendant agrees to make

restitution to the following individuals in the amounts listed in the below chart:

Amount

Victim —

$326,431 | Victim 19

$52,293 | Victim 20

$102,615 | Victim 21

$453,431 | Victim 22

$150,000 | Victim 23

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$84,246

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Victim 24

$520,000

Victim 25

$15,333

Victim 26

$517,177

Victim 27

$37,041

Victim 28

$3,584,787

Victim 29

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Pursuant to 18 U.S.C. §§ 3663(a)(3), the defendant also agrees to make

restitution to the following individuals in the amounts listed in the below chart:

=

$266,988

Individual Victim 2

$571,413

Individual Victim 3

$95 ,606

Individual Victim 4

$131,290

Individual Victim 5

$60,010

Individual Victim 6

$199,456

Individual Victim 7

$199,116

Individual Victim 8

$413,004

Individual Victim 9

Son

Individual Victim 10

$40,411

Individual Victim 11

$9,179

Individual Victim 12

Individual Victim 13
Individual Victim 30
Individual Victim 31

$16,911
$574,958
$1,151,516

8. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to forfeiture,
pursuant to 18 U.S.C. § 981(a))(C) and 28 U.S.C. § 2461(c), whether in the
possession or control of the United States, the defendant or defendant's nominees.

The assets to be forfeited specifically include, but are not limited to, the

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following: 1,306,285.53 Dai (DAD seized from the wallet ending in 38D1f9a; and
800.483 Ethereum (ETH) seized from the wallet ending in 38D1f9a, which assets
constitute proceeds and/or are derived from proceeds the defendant admits he
obtained, as the result of the commission of Count One, to which the defendant is
pleading guilty.

Additionally, the defendant agrees to the administrative forfeiture of the
following assets, which constitute proceeds and/or property derived from violations
of 18 U.S.C. § 1349 and/or 1343:

1. 43.51754994 Monero (XMR) seized from wallet ending in 12rT5sN;

2. 8.0215721 Ethereum (ETH) seized from wallet ending in b223Cdf;

3. 0.0232488 Bitcoin (BTC) seized from wallet ending in hamtguw,

4. 8,998.10 Dai (DAD seized from wallet ending in 8A55De3; and

5. 1.120291 Ethereum (ETH) seized from wallet ending in 8A55De3.

6. 936.31358 Monero (XMR) seized from wallet ending 9CU4qG8;

7. 0.085362 Bitcoin (BTC) seized from wallet ending 69mzhmz;

8. 56,121.298 Ripple (XRP) seized from wallet ending yswM6ew;

9, $27,702.00 in U.S. Currency seized from the residence at 1 Edge

Lane, Palm Coast, FL;

10. Miscellaneous Jewelry and

11. Six (6) Watches

The defendant agrees and consents to the forfeiture of these assets

pursuant to any federal criminal, civil judicial or administrative forfeiture action.

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The defendant also agrees to waive all constitutional, statutory and procedural
challenges (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the forfeiture
of the property sought by the government. Pursuant to Rule 32.2(b)(4), the
defendant agrees that the preliminary order of forfeiture will satisfy the notice
requirement and will be final as to the defendant at the time it is entered. In the event
the forfeiture is omitted from the judgment, the defendant agrees that the forfeiture
order may be incorporated into the written judgment at any time pursuant to Rule
36.

The defendant agrees to take all steps necessary to identify and locate
all property subject to forfeiture and to transfer custody of such property to the
United States before the defendant’s sentencing. The defendant agrees to be
interviewed by the government, prior to and after sentencing, regarding such assets
and their connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States.
The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § 1B1.8

will not protect from forfeiture assets disclosed by the defendant as part of the

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defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant’s
sentencing. In addition to providing full and complete information about forfeitable
assets, these steps include, but are not limited to, the surrender of title, the signing of
a consent decree of forfeiture, and signing of any other documents necessary to
effectuate such transfers. To that end, the defendant agrees to make a full and
complete disclosure of all assets over which defendant exercises control directly or
indirectly, including all assets held by nominees, to execute any documents requested
by the United States to obtain from any other parties by lawful means any records of
assets owned by the defendant, and to consent to the release of the defendant’s tax
returns for the previous five years. The defendant agrees to be interviewed by the
government, prior to and after sentencing, regarding such assets and their connection
to criminal conduct.

The defendant agrees that the United States is not limited to forfeiture
of the property specifically identified for forfeiture in this Plea Agreement. Ifthe
United States determines that property of the defendant identified for forfeiture
cannot be located upon the exercise of due diligence; has been transferred or sold to,
or deposited with, a third party; has been placed beyond the jurisdiction of the Court;
has been substantially diminished in value; or has been commingled with other
property which cannot be divided without difficulty; then the United States shall, at

its option, be entitled to forfeiture of any other property (substitute assets) of the

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defendant up to the value of any property described above. The Defendant expressly
consents to the forfeiture of any substitute assets sought by the Government. The
defendant agrees that forfeiture of substitute assets as authorized herein shall not be
deemed an alteration of the defendant's sentence.

Forfeiture of the defendant's assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be
found ineligible for a reduction in the Guidelines calculation for acceptance of
responsibility and substantial assistance, and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this agreement
shall be determined as if the defendant had survived, and that determination shall be
binding upon defendant’s heirs, successors and assigns until the agreed forfeiture,
including satisfaction of any preliminary order of forfeiture for proceeds.

9. Abandonment of Property

The defendant acknowledges that he has an ownership interest in the

following items of property that are in the lawful custody of the United States:

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Miscellaneous Electronics seized from a 2010 Dodge Challenger, and Miscellaneous
Electronics seized from the residence at 1 Edge Lane, Palm Coast, Florida.

The defendant understands that he has the right and opportunity to
claim the listed property. The defendant hereby knowingly and voluntarily waives
all right, title, and interest in the listed property. The defendant waives, releases, and
withdraws any claim that the defendant has made with respect to the listed property,
and waives and releases any claim that the defendant might otherwise have made to
the listed property in the future.

The defendant consents to the vesting of title to the listed property to
the United States Government, pursuant to Title 41, Code of Federal Regulations,
Section 128-48.102-1. The defendant also consents to the destruction of the property,
or other disposition of the property in accordance with law, and without further
notice to defendant.

The defendant waives any right the defendant might otherwise have
had to receive notice or a hearing with respect to any motion, pleading, order, or any
other action that the Government might take, in its sole discretion, to carry out the
abandonment, disposition, and/or destruction of the listed property. The defendant’s
waiver includes, without limitation, all common law, statutory, and constitutional
claims or challenges, on any grounds, arising at any time from, or relating to, the
seizure, abandonment, disposition, and destruction of the listed property, including
any such claim for attorney’s fees and litigation costs.

The defendant further agrees to hold the United States of America, its

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agents and employees, harmless from any claims whatsoever in connection with the
seizure, abandonment, disposition, and destruction of the listed property.

B, Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses described in 18
U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution to
any victim of the offense, pursuant to 18 U.S.C. § 3663, including restitution as to all
counts charged, whether or not the defendant enters a plea of guilty to such counts,
and whether or not such counts are dismissed pursuant to this agreement. The
defendant further understands that compliance with any restitution payment plan
imposed by the Court in no way precludes the United States from simultaneously
pursuing other statutory remedies for collecting restitution (28 DSS 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the Mandatory
Victims Restitution Act, in order to ensure that the defendant’s restitution obligation
is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure that this
obligation is satisfied, the Defendant agrees to deliver a check or money order to the

Foreach Count PUY VO WW
Clerk of the Court in the amount of $100, payable to “Clerk, U.S. District Court”

within ten days of the change of plea hearing.

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The defendant understands that this agreement imposes no limitation as
to fine.

2. Supervised Release

The defendant understands that the offenses to which the defendant is
pleading provides for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon conviction,
a defendant who is not a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the Court
and the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant factual information,
including the totality of the defendant’s criminal activities, if any, not limited to the
count to which defendant pleads, to respond to comments made by the defendant or
defendant’s counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if

any.

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5. Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)@),
the defendant agrees to complete and submit to the United States Attorney’s Office
within 30 days of execution of this agreement an affidavit reflecting the defendant’s
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in
which he has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant’s tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney’s
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant’s federal, state, and local tax returns, bank
records and any other financial information concerning the defendant, for the
purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney’s Office to obtain current credit
reports in order to evaluate the defendant’s ability to satisfy any financial obligation

imposed by the Court.

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6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor
bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations and
present arguments to the Court, the sentence will be determined solely by the Court,
with the assistance of the United States Probation Office. Defendant further
understands and acknowledges that any discussions between defendant or
defendant’s attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant’s plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant’s sentence, whether or not such decision is
consistent with the government’s recommendations contained herein.

7. Defendant’s Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant’s sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States

Sentencing Guidelines, except (a) the ground that the sentence exceeds the

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defendant’s applicable guidelines range as determined by the Court pursuant to the

United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from this waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).

8. Middle District of Florida and Central District of California

Agreement

It is further understood that this agreement is limited to the Offices of
the United States Attorney for the Middle District of Florida and Central District of
California and cannot bind other federal, state, or local prosecuting authorities,
although this office will bring defendant’s cooperation, if any, to the attention of
other prosecuting officers or others, if requested.

9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in.
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant’s entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any

discussions between the attorney for the government and the defendant and

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defendant’s attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant’s understanding of the
nature of the offenses to which defendant is pleading guilty and the elements thereof,
including the penalties provided by law, and defendant’s complete satisfaction with
the representation and advice received from defendants undersigned counsel (if
any). The defendant also understands that defendant has the right to plead not guilty
or to persist in that plea if it has already been made, and that defendant has the right
to be tried by a jury with the assistance of counsel, the right to confront and cross-
examine the witnesses against defendant, the right against compulsory self-
incrimination, and the right to compulsory process for the attendance of witnesses to
testify in defendant’s defense; but, by pleading guilty, defendant waives or gives up
those rights and there will be no trial. The defendant further understands that if
defendant pleads guilty, the Court may ask defendant questions about the offense or
offenses to which defendant pleaded, and if defendant answers those questions under
oath, on the record, and in the presence of counsel (if any), defendant’s answers may
later be used against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the offenses
to which defendant has pleaded and, if any of such offenses are felonies, may thereby
be deprived of certain rights, such as the right to vote, to hold public office, to serve

on a jury, or to have possession of firearms.

Defendant’s Initials N \ 20

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11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the
attached “Factual Basis,” which is incorporated herein by reference, are true, and
were this case or the Central District of California case (Case No. 2:24-cr-00595-
JWH) to go to trial, the United States would be able to prove those specific facts and
others beyond a reasonable doubt.

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant’s attorney with regard to such guilty plea.

Defendant’s Initials V of 21.

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13. Certification
The defendant and defendant’s counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant

its terms.

DATED this of February, 2025.
ROGER B. HANDBERG
United States Attorney
NOAH MICHAEL URBAN OHN CANN eo
Defendant Assistant United States Attorney
KATHRYN SHELDON MICHAEL J/COOLICAN
Attorney for Defendant ssistant Usted States Attorney

uty C ief, Jacksonville Division

Central District of California

Defendant’s Initials 22

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13: Certification
The defendant and defendant’s counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms.

DATED this WA day of February, 2025. Gr ej 0-4 Ww. Kehoe

United States Attorney

(Ofna (oh Jol Lona

NOAH MICHAEL URBAN OHN CANNIZZARO

Defendant Assistant United States Attorney
ee fh

Katyn holdin LD

KATHRYN SHELDON MICHAEL J/COOLICAN

Attorney for Defendant Assistant United States Attorney
Deputy CI ief, Jacksonville Division

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LAUREN RESTREP))

Assistant United States Attorney
Central District of California

Defendant’s Initials NV lL 22
Case 3:25-cr-0O0070-HES-PDB Document15_ Filed 04/04/25 Page 24 of 34 PagelD 80
. Case 3:25-cr-00070-HES-PDB Document15_ Filed 04/04/25 Page 25 of 34 PagelD 81

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA
¥. Case No. 3:23-cr-180-HES-SJH

> HE ¢-
NOAH MICHAEL URBAN 3-95- J0-HE §- PDB

PERSONALIZATION OF ELEMENTS

As to Count One:

1. From August 2022, continuing through at least in or about March 2023,
in the Middle District of Florida and elsewhere, did you along with others, in some
Oo yo
way or manner, agreed to try to accomplish a common and unlawful plan to commit
wire fraud, specifically by stealing cryptocurrency from victims listed in the
Indictment?

a. Did you know the unlawful purpose of the plan and willfully joined in?

As to Count Nine:

1. Did you knowingly devise and participate in a scheme to defraud
Victim 5 by using false and fraudulent pretenses, representations, or promises as
alleged in the Indictment?

Ze Were the false pretenses, representations, or promises about a material
fact?

De Did you act with the intent to defraud?

Defendant’s Initials N (A

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4. On or about February 16, 2023, did you transmit or cause to be
transmitted by wire in interstate commerce a transfer of cryptocurrency from the
account of Victim 5 to your cryptocurrency wallet to help carry out the scheme?

As to Count Fourteen:

1. On or about December 3, 2022, in the Middle District of Florida and

elsewhere, did you knowingly transfer, possess, or use other person’s means of
or £C VON

identification of identification document, specifically the name and credentials of
Victim 5 as listed in the Indictment?

2. Did you do so without lawful authority?

2: Did you do so during and in relation to wire fraud, specifically in using
this information in the commission of the offense described in Count Nine of the

Indictment, which included the unlawful transferring of cryptocurrency from Victim

5’s Account to your own account?

Defendant’s Initials | ih 2

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As to Count One of the CDCA Indictment:

1. From August 2022 and continuing through at least March 2023, in the
Central District of California and elsewhere, did you along with others, in some way
or manner, apical to try to Ne ah a common and unlawful plan to commit wire
fraud, specifically by conducting phishing attacks by sending SMS phishing messages
to the mobile telephones of Victim Company employees, using credentials stolen
through SMS phishing to access the accounts of Victim Company employees and the
computer systems of Victim Companies to steal confidential information, and
stealing cryptocurrency from victims listed in the CDCA Indictment?

2. Did you know the unlawful purpose of the plan and willfully joined in?

Defendant’s Initials N U 3

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA
Vv. Case No. 3:23-cr-180-HES-SJH

Ae-cp-Ao. HET.
NOAH MICHAEL URBAN 3 ab-er-70- HES. PNB

FACTUAL BASIS

From August 2022 through March of 2023, the defendant, Noah Michael

Urban, along with others in the Middle District and elsewhere, was involved in
stealing cryptocurrency from the victims listed in the Indictment. Urban, who also
goes by the alias "Sosa", "Elijah," and “King Bob” among other names, was part ofa
group of loosely organized individuals who engage in account takeovers and steal
cryptocurrency from online exchanges. These attacks are often called “SIM swaps.”
Urban and his co-conspirators were able to obtain the victims’ personally identifiable
information (PID and then exploit it by attempting to access different types of
cryptocurrency exchanges. They would reset the passwords on those exchanges
defeating a system of pavemondl security called two factor authentication (2FA). 2FA
is the preferred method of many companies to ensure account security.

Several email providers and cryptocurrency exchanges allow account holders
to reset the password for their accounts by verifying receipt of a one-time code sent to
their mobile phone number (the “2nd factor” for 2FA, in addition to the password).

By conducting SIM swaps, Urban and his co-conspirators were able to redirect the

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victims’ mobile phone number from their legitimate device to a device controlled by
Urban and his co-conspirators. This was frequently accomplished through “social
engineering,” such as tricking a customer service employee at the cellular company
into believing that Urban or a co-conspirator was in fact the victim and had
purchased a new phone. Once in control of the victim’s mobile phone number,
Urban and his co-conspirators would be able to receive one-time codes sent by email
providers and cryptocurrency exchanges, allowing them to reset passwords for the

corresponding accounts.

In Internet browser history for Urban’s desktop computer, seized pursuant to a
warrant in March 2023 at his then-residence in Palm Coast, Florida, investigators
discovered entries showing access to numerous victim email accounts, including
various stored passwords for some victims’ accounts. Investigators also discovered
numerous cryptocurrency wallets created using the free Exodus software on Urban’s
desktop computer. Transaction history and cryptocurrency tracing for those wallets
proved that many of them were used to receive stolen cryptocurrency from victim
exchange accounts. Specifically located on Urban’s computer was a cryptocurrency
wallet that Urban used to store some of the victim’s stolen cryptocurrency. In this
wallet there was cryptocurrency in the amount of 1,306,285.53 Dai (DAT) from the
wallet ending in 38D1f9a; and 800.483 Ethereum (ETH) seized from the wallet
ending in 38D1f9a. Both of these cryptocurrencies were obtained illegally by Urban

by taking the cryptocurrencies from the victims of the wire fraud conspiracy. Urban

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obtained these assets as the result of the commission of Count One, to which the
defendant is pleading guilty. Investigators seized a total of approximately $2.89MM
worth of cryptocurrency from Urban’s desktop computer in March 2023 (due to
fluctuating cryptocurrency values, the seized virtual assets were recently valued at
approximately $3.67MM< as of October 16, 2024). Urban admitted in interviews
with the FBI that all of the cryptocurrencies found on Urban’s computer was a result
of Urban and his conspirators illegal wire fraud conspiracy.

As charged in Count Nine and Count Fourteen of the Indictment, Urban
illegally used Victim 5’s name, email address, credentials, and/or 2FA phone
number to access Victim.5’s AOL email account in December 2022. Records from
AOL confirmed that on December 3 and 4, 2022 there were multiple logins to Victim
5’s email account that did not match Victim 5’s IP address. The logins were made to
Victim 5’s email account from Urban’s computer using a VPN, which is virtual
private network that masks an IP address. Similar logins were made to Victim 5’s
email account on February 16, 2023. Urban further used his access to Victim 5’s
email account and 2FA phone number to access Victim 5’s Coinbase exchange
account in February 2023. Records from AT&T for Victim 5’s mobile phone number
confirmed that a SIM card change had occurred for the number on February 16,
2023. Emails received by Victim 5 also showed that a new device was confirmed
using his AOL email account on February 16, 2023. The new device was using a
VPN IP address that URBAN was controlling. Impersonating Victim 5, Urban

initiated a transfer of 219.2683 Ethereum, valued at approximately $374,614, from

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Victim 5’s Coinbase account to his own Exodus cryptocurrency wallet at address
0x42D44bf4dd410D8A2E041 12d5E0F77F47160d05F on February 16, 2023. This
transaction was identified in the history of an Exodus wallet recovered from Urban’s —
desktop computer in March 2023. In addition to the wallet found on Urban’s
computer, there was evidence of the VPN that Urban used in order to complete the

account takeover.

In February 2023, Victim 5, a resident of the State of Texas, reported to the
FBI that he had suffered a compromise of his Coinbase account following a SIM
swap of his AT&T mobile phone number. Victim 5 confirmed that his AOL email
account was tied to his Coinbase account and that someone could use it to verify a
new device. Victim 5 also provided two emails from Coinbase confirming
withdrawals of 219.2683 Ethereum across two transactions to external address
0x42D44bf4dd410D8A 2E041 12d5E0F77F47160d05F on February 16, 2023. In
addition to the emails from Victim 5 and the transaction history from Urban’s
Exodus wallet, FBI agents were able to trace, or follow the cryptocurrency from
Victim 5’s account to Urban’s device. Blockchain tracing software and subsequent
records requests also confirmed that some of the stolen cryptocurrency was later used.

for purchases tied to Urban’s known email accounts.

During a May 2023 interview with investigators, Urban estimated that he had
personally made several million dollars between January 2021 and March 2023

through cryptocurrency theft, and that he had been involved in the theft of several

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million more overall. Urban stated that most of the funds he had personally made
were lost on various online gambling websites, while he had a “few million” on his

desktop computer.

FACTUAL BASIS — CDCA INDICTMENT

From at least August 2022 through March 2023, within the Central District of
California, and elsewhere, the defendant Noah Michael Urban, along with Ahmed
Hossam Eldin Elbadawy, Evans Onyeaka Osiebo, and Joel Martin Evans, and Tyler
Buchanan, and others, knowingly and intentionally conspired with each other to
conduct criminal cyber intrusions and virtual currency thefts. The victims and
intended victims included interactive entertainment companies, telecommunications
companies, technology companies, business process outsourcing (BPO) suppliers,
cloud communications providers, virtual currency companies, and individuals.
Urban, along with Elbadawy, Osiebo, Buchanan, and other coconspirators, hacked
and defrauded Victim Companies and individual victims around the United States,

including in the Central District of California.

Urban, along with Elbadawy, Osiebo, Buchanan, and other coconspirators,
would conduct phishing attacks by sending SMS phishing messages to the mobile
telephones of Victim Company employees that purported to be from a Victim
Company or a Victim Company contracted IT or BPO supplier. The SMS phishing

messages would contain links to phishing websites designed to look like legitimate

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websites of a Victim Company or a contracted BPO supplier and lure the recipient

into providing confidential information, including account login credentials.

Urban, along with Elbadawy, Osiebo, Buchanan, and other coconspirators,
would then use credentials stolen through SMS phishing to access the accounts of
Victim Company employees and the computer systems of Victim Companies, to
steal confidential information, including confidential work product, intellectual
property, and personal identifying information, such as account access credentials,
names, email addresses, and telephone numbers. In some instances, after gaining
unauthorized access to Victim Company computer systems, Urban, along with
Elbadawy, Osiebo, Buchanan, and other coconspirators, would copy confidential
databases from Victim Companies and attempt to sell the stolen information to

others.

In order to fraudulently gain access to individual victims’ virtual currency
wallets and accounts, and to bypass two factor authentication security features,
Urban, along with Elbadawy, Osiebo, Buchanan, and other coconspirators, would (i)
gain unauthorized access to various online accounts of victims, including email
accounts; and (ii) conduct, or cause to be conducted, SIM swaps of individual

victims’ mobile telephone numbers to devices that the conspirators controlled.

As part of the conspiracy, Joel Martin Evans created software used by Urban,
Elbadawy, Osiebo, Buchanan, and other coconspirators, to conduct phishing attacks

on Victim Company employees.

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As part of the conspiracy, on January 16, 2023, Urban, along with Elbadawy,
Osiebo, Buchanan, and other coconspirators, transmitted or caused to be transmitted
SMS phishing messages to the mobile telephones of Victim Company 1 employees,
causing at least one Victim Company | employee to transmit their credentials via the
phishing websites provided in the SMS phishing messages. Urban admits that the
intrusions into the victim companies caused damage to the computer systems of
Victims Company 1. After the intrusion on January 16, 2023, on a messaging
platform, Urban sent messages stating, in part, “I have one of the rarest . . . account

in all of history” and “.. . Ijust hacked htis [sic] one off [Victim Company 1].”

In addition to Victim Company intrusions, Urban, along with Elbadawy,
Osiebo, Buchanan, and other coconspirators used information obtained from Victim
Company intrusions to identify and gain access to virtual currency accounts and
wallets belonging to individual victims to steal virtual currency worth millions of
dollars. Urban admits that the conspiracy involved the theft of over $2.6 million

worth of virtual currency from at least 16 individual victims.

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